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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,
Plaintiff, ; Case No. 3:18-CR-186
vs.
JUDGE THOMAS M. ROSE
BRIAN HIGGINS
Defendant.

 

 

AMENDED MOTION TO CONTINUE TRIAL

 

 

Now comes Defendant, Brian Higgins, through Counsel, and respectfully moves the Court

to continue the Trial currently scheduled to commence on March 29, 2021.
MEMORANDUM IN SUPPORT

As grounds for this Motion, Mr. Higgins is charged in a multi-count second superseding
indictment for Mail Fraud (18 U.S.C. §1341) and Witness Tampering and Intimidation (18
U.S.C.§§1512 (d)(1), 1513(e).

As part of the Discovery received by the Defense, are several documents related to the
Insurance Claim at the center of these charges. These documents require Expert testimony to
adequately challenge the allegations against Mr. Higgins.

Accordingly, the undersigned Counsel have identified an Expert in the Insurance industry
who will need time to review the pertinent documents and render a report. This will take time,
as the Government is entitled to challenge the findings and obtain their own Expert.

We, the undersigned Counsel, represent to the Court that we have discussed the need for

this continuance with Mr. Higgins, and that by requesting this continuance, the time period from
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the filing of this Motion to the new trial date, is excludable pursuant to the Speedy Trial Act (18
U.S.C, §3 161(h)(7)(A)).

Given these circumstances, failure to grant the continuance would deny Mr. Higgins the
reasonable time necessary that the Defense Expert needs to prepare a report and for the
Government to respond accordingly.

WHEREFORE, Brian Higgins, through Counsel, respectfully requests that the Court

continue the scheduled trial date of March 29, 202 1, to a future date.

   

/s/Tamara S. Sack
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CERTIFICATE OF SERVICE

I hereby certify that I filed the foregoing Motion to Continue utilizing the United States
District Court’s E-Filing CM/ECF system on the 10" day of March 2021.

/s/Tamara S. Sack
Tamara S. Sack
